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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 LIABILITY LITGATION
                                                   Case No. 16-md-02741-VC
 This document relates to:
                                                   ORDER RE TRIAL SLIDES
 Hardeman v. Monsanto, 3:16-cv-00525-VC



       By 5:00 p.m. on June 5, 2019, the parties are ordered to file their slides from Phase 1

closing statements and Phase 2 opening and closing statements.

       IT IS SO ORDERED.

Date: June 3, 2019                                          ___________________________
                                                            Honorable Vince Chhabria
                                                            United States District Court
